Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 1of13 Page ID #:6

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Armen R. Vartian (Bar No. 155766) py 3: 48
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Manhattan Beach, CA 90266 eck a gi eT GAN
310-372-1355 phone e eet AL: BIIGELES
866-427-3820 fax et
inti By

Attorney for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ASSET MARKETING SERVICES, INC. )

Plaintiff, )

) COMPLAINT FOR
) TRADEMARK

) INFRINGEMENT;
) VIOLATION OF

) LANHAM ACT;

) TRADEMARK

) DILUTION; UNFAIR
) eee

)

ele

REGAL ASSETS, LLC

| Defendant BY c A K

 

 

 

| ASSET MARKETING SERVICES, INC., by its attorney Armen R. Vartian,
for its Complaint in this action, alleges upon information and belief as follows:

JURISDICTION AND VENUE

|

| 1, This action arises under 15 U.S.C. §1114 and the Lanham Act, 15 U.S.C.
§1 125, and this Court has original jurisdiction of Plaintiff's federal and state claims

 

Complaint for Trademark Infringement etc, ~- 1

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under 28 U.S.C. §1338(a) and (b), and 28 U.S.C. §1331, and of Plaintiff's

California state law claims also under principles of pendent jurisdiction.

9, Venue is appropriate in this Judicial District under 28 U.S.C. §1391(b) as
Defendant is headquartered in this Judicial District, Plaintiff does business in this

District and a substantial portion of the events, omissions and property which is the

|| subject matter of this action are located in this District.

PARTIES

3. Plaintiff ASSET MARKETING SERVICES, INC. (“AMS”) is a

Minnesota corporation with principal place of business in Burnsville, MN.

4. Defendant REGAL ASSETS, LLC (REGAL) is, upon information and
belief, a California limited liability company with principal place of business in
Universal City, CA.

GENERAL ALLEGATIONS

5. AMS markets and sells coins to collectors and investors through two
divisions named First Federal Coin and GovMint. AMS has expended money,
time and effort promoting its business under the First Federal Coin and GovMint
names, and to make those names familiar to the public at large and to coin

collectors, investors and others involved in the coin industry. AMS has built a

valuable goodwill under the names First Federal Coin and GovMint and has

become a recognized market leader as well.

6. For example, First Federal Coin was the primary U.S. distributor for the
Olympic Games Commemorative coins for Sydney 2000, Beijing 2008, Vancouver
2010 and the sole U.S. distributor for London 2012. First Federal Coin is also
official distributor for many prestigious mints, including the British Royal Mint,

Complaint for Trademark Infringement etc. - 2

 

 

 
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Royal Canadian Mint, China Mint, South African Mint, and the Royal Australian
Mint.

7. GovMint likewise sources and sells hundreds of different types of coins to
customers throughout the U.S. Among other things, through its special relationship
with the Smithsonian Institution, GovMint is exclusive marketer of coins whose

designs are based on unique coin designs found in the Smithsonian’s archives.

8. “First Federal Coin” and “GovMint” have been registered trademarks of

AMS since November 3, 2009.

9. Regal Assets sells precious metals as investments, for example through its
“Gold IRA Rollover Kit”. Regal markets its products by, among other things,
posting videos online for potential customers. As of September 30, 2013, Regal
had posted a total of 2,623 videos on YouTube under the username
“GoldSilverBuy”, and upon information and belief, this number will continue to

increase as Regal has been posting additional videos daily.

10. Regal’s videos are each approximately two minutes in length and
promote the sale of coins as investments. Most of the videos do not contain the
name “Regal Assets” in their title, but instead contain the AMS trademarks, “First
Federal Coin Corp” or “GovMint” in their titles.

11. When an internet user does a search using the terms “first federal coin,”
“first federal coin corp,” “govmint,” or “govmint.com”, the results return a number
of Regal’s videos. These videos appear on the first search results page and
continue on to additional pages. Depending on which of AMS’s marks is being

searched, that mark appears in the names of each of the videos.

12. For example, persons searching for “govmint” see videos with titles

such as “chinese gold coins|buy bullion gold|buy mexican coins|gold ira

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Complaint for Trademark Infringement etc. ~ 3

 

 

 
(Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 4of13 Page ID#

investing|govmint| 1 oz gold”; “1 oz gold bullion|buy bullion gold|chinese 24k
gold eagle platinum|govmint|best gold”; $5 gold coins govmint|buy bullion
gold|Canadian maple gold coin price gold coin bullion”; and “krugerrands|buy

bullion gold|coins gold bullion free gold bullion|govmint|numismatic gold.”

13. Persons searching for “first federal coin” see videos with titles such as
“platinum coins|buy bullion gold|compare ira first federal coin corp|palladium
coins| 1 oz gold”; silver eagles|buy bullion gold|buy silver coins first federal coin
corp|gold proof sets|$5”; and “us mint proof sets|buy bullion gold|buying coins

first federal coin corp|proof silver eagles”.

14. These videos, although produced by Regal, are posted under the name
“GoldSilverBuy.” The videos that contain the AMS trademarks in the title do not
have any initial indication of being associated with Regal, and Regal intentionally
avoids use of its own name in connection with the videos to trade on AMS’s

goodwill in the “First Federal Coin” and “GovMint” names.

15. Consumers who search for videos or television advertisements posted
online from First Federal Coin and GovMint are likely to become confused and
believe they are watching an advertisement made and published by those AMS
divisions when, in fact, the videos are produced by Regal and direct consumers to

telephone numbers used by Regal.

16. Consumers are further likely to become confused and believe these
videos reflect AMS’s offers of products and prices. Consumers who then order the
products offered on these videos will expect the quality of product and price
associated with AMS, as well as the additional benefits AMS provides with the

sale of its products, none of which are provided by Regal.

 

 

Complaint for Trademark Infringement etc. - 4

 

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Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page5of13 Page ID #:10

| trademarked names, with the purpose of passing off those videos, and the coins

 

 

17. In August 2013, AMS sent two cease and desist letters to Regal
regarding First Federal Coin and GovMint, respectively, each letter providing
documentation of AMS’s trademarks and a demand that Regal stop using the
trademarks in the titles of its videos. Since receiving those letters, Regal has
maintained each of its existing videos, and continued to post new videos containing

“First Federal Coin” and “GovMint” in the titles.

COUNT ONE —
INFRINGEMENT OF FEDERALLY REGISTERED TRADEMARKS

18. AMS repeats and realleges each and every allegation contained in
Paragraphs 1-17 hereof as though set forth in full here.

19. Regal has repeatedly engaged in unlawful infringement of AMS's
trademarks under 15 U.S.C. §1114 in that during the past four years and continuing

through the present, Regal has used in commerce videos containing AMS’s

sold through the videos, as genuine AMS products.

20. Regal disseminated coins advertised in its videos to numerous com
collectors and investors in interstate commerce.

21. In every instance where Regal passed off one of its videos, and offered
coins in those videos, using one of AMS’s trademarked names, as referred to in
paragraph 19 above, Regal knew and intended that it would thereby create a belief
in potential and actual coin purchasers that they were dealing with AMS, despite
the fact that Regal knew that its products had no connection with AMS
whatsoever. The direct and intended result of the acts identified in Paragraph 19
above was to cause the public to be deceived and confused concerning the source
of Regal’s products. In other words, purchasers and prospective purchasers were
led to believe that they were dealing with AMS when in fact Defendants knew

such was not the case.

 

Complaint for Trademark Infringement etc. - 5
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92. The actions of Regal, if not enjoined, will continue. AMS has suffered
and continues to suffer damages in an amount to be proven at trial consisting of,
among other things, diminution in the value of and goodwill associated with the
AMS marks, and injury to Plaintiffs business. Plaintiff is therefore entitled to
injunctive relief pursuant to 15 U.S.C. § 1116.

23. Pursuant to 15 U.S.C. § 1117, AMS is entitled to recover damages in an
amount to be determined at trial, profits made by Regal on sales made in
connection with the use of AMS’s marks, and the costs of this action. Furthermore,
AMS is informed and believes, and on that basis alleges, that the actions of Regal
were undertaken willfully and with the intention of causing confusion, mistake, or
deception, making this an exceptional case entitling Plaintiff to recover additional

treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

COUNT TWO —- LANHAM ACT

24. AMS repeats and realleges each and every allegation contained in
Paragraphs 1-17 hereof as though set forth in full here.

25. Regal’s aforesaid acts constitute an actionable wrong under 15 U.S.C.
§1125(a) in that it knowingly and willfully used in connection with their goods a
false description and representation as to the source and quality of its coins,
including words, symbols and numbers tending falsely to describe or represent
their videos and coins as being offered by AMS, and have caused such videos and
coins to enter into, and be transported and used in interstate commerce with
knowledge of the falsity of such description and representation.

26. Regal’s use of the “First Federal Coin” and “GovMint” marks will
likely cause and has caused confusion over whether the videos, and coins sold
through them, originated with AMS, and as to whether AMS has endorsed Regal

and the coins it sells.

Complaint for Trademark Infringement etc. - 6

 
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Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 7 of 13 Page ID #:12

27. The actions of Regal, if not enjoined, will continue. AMS has suffered
and continues to suffer damages in an amount to be proven at trial consisting of,
among other things, injury to AMS’s business. AMS is therefore entitled to
injunctive relief pursuant to 15 U.S.C. § 1116.

28. Pursuant to 15 U.S.C. § 1117, AMS is entitled to recover damages in an
amount to be determined at trial, profits made by Regal on sales made in
connection with the use of AMS’s marks, and the costs of this action. Furthermore,
AMS is informed and believes, and on that basis alleges, that the actions of Regal
were undertaken willfully and with the intention of causing confusion, mistake, or
deception, making this an exceptional case entitling Plaintiff to recover additional

treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

COUNT THREE —- TRADEMARK DILUTION

29. AMS repeats and realleges each and every allegation contained in
Paragraphs 1-17 hereof as though set forth in full here.

30. The “First Federal Coin” and “GovMint” trademarks are very strong
after years of successful marketing, significant sales volume, critical acclaim, and
widespread recognition among collectors and investors in coins. As a result of the
duration and extent of use of these marks, the duration and extent of the advertising
and publicity of the marks, the geographical extent of the distribution of the same,
the superior quality of AMS’s goods and services and the degree of recognition of
the “First Federal Coin” and “GovMint” marks, these marks have achieved an
extensive degree of distinctiveness and are famous marks.

31. Regal has used, and is continuing to use, the “First Federal Coin” and |
“GovMint” marks in connection with its own business intending to ride on AMS’s

goodwill and reputation to enhance Regal’s own reputation and goodwill.

Complaint for Trademark Infringement etc. - 7

 
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32. Regal’s use of the “First Federal Coin” and “GovMint” marks in
connection with videos and coins over which AMS has no control dilutes the
distinctive quality of the marks.

33. By reason of the foregoing unlawful acts, Regal has caused, and is
continuing to cause, substantial and irreparable damage and injury to AMS’s
reputation and goodwill, and Regal has benefited from such unlawful conduct and
will continue to carry out such unlawful conduct and to be unjustly enriched
thereby unless enjoined by this Court.

34. As a proximate and direct result of Regal’s acts, AMS has sustained.

damages in an as yet unascertained amount to be proven at trial.
COUNT FOUR —- CALIFORNIA UNFAIR COMPETITION

35. AMS repeats and realleges each and every allegation contained in
Paragraphs 1-17 hereof as though set forth in full here.

36. Regal is a competitor of AMS in the business of retailing coins to
collectors and investors.

37. Regal’s aforesaid acts constitute unlawful, unfair and fraudulent

|| business practices, as prohibited by the common Jaw and by California Business &

Professions Code §17200 read with §§17203 and 17205. They constitute federal

trademark law violations as alleged above.

38. By reason of Regal’s unlawful acts as described herein Regal has

caused, and is continuing to cause, substantial and irreparable damage and injury to

| AMS and to the public and Regal has benefited from such unlawful conduct and

will continue to carry out such unlawful conduct and to be unjustly enriched
thereby unless enjoined by this Court.
39. AMS has no adequate remedy at law.

Complaint for trademark Infringement etc. —- 8

 
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Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 9of13 Page |ID#

41. In acting as set forth herein, Regal acted willfully, fraudulently,
maliciously, and in wanton disregard of AMS's rights. Therefore, AMS seeks
exemplary damages from Regal in an amount according to proof at trial.

WHEREFORE, Asset Marketing Services prays this Court for judgment on

this Complaint:

(a) awarding AMS its actual damages in an amount to be proved at trial;

(b) awarding AMS any and all profits earned by Regal from publication of
the infringing videos;

(c) in the alternative, awarding AMS statutory damages in the amount of
$150,000 for each infringement by Regal;

(d)awarding AMS reimbursement of AMS's costs wad attorney’s fees in
investigating this matter and bringing this lawsuit;

(e) ordering Regal to remove and destroy all videos using or referring to any
of AMS’s marks;

(g) permanently enjoining Regal from any unlawful activity under Business
and Professions Code §17203 and awarding AMS restitution in the
amount of any sums acquired by Regal by means of such activity, plus
exemplary damages as proven at trial.

Dated: October 24, 2013

QRVUW

Armen R. Vartian
Attorney for Plaintiff

 

Complaint for Trademark Infringement etc. - 9

 

 

40. As a proximate and direct result of Regal’s unlawful conduct and acts off

unfair competition, AMS has sustained damages in an as yet unascertained amount.

(f) permanently enjoining Regal against any infringing use of AMS’s marks;

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Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 10 of 13 Page ID #:15

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge Margaret M. Morrow and the assigned

 

Magistrate Judge is Andrew J. Wistrich

 

The case number on all documents filed with the Court should read as follows:

2:13-CV-7883-MMM (AJWx)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. §. District Court

 

 

 

October 24, 2013 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [] Southern Division [] Eastern Division
312 N. Spring Street, G-8 411 West Fourth St, Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13} NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 110f13 Page ID #:16

1. (a) PLAINTIFFS ( Check box if you are representing yourself [_ | }

Asset Marketing Services, inc.

CIVIL COVER SHEET

DEFENDANTS
Regal Assets, LLC

( Check box if you are representing yourself | }

 

<{h) Attorneys (Firm Name, Address and Telephone Number. Ifyou
atd representing yourself, provide same information.)

  
  
  

& men R. Vartian, Law Offices of Armen R, Vartian
1601 N. Sepulveda Blvd, #581

 

(b) Attorneys (Firm Name, Ad
are representing yourself, provide same t

dress and Telephone Number. if you
nformation.)

 

 

   

 

 

BASIS OF JURISDICTION (Place an X in one box only.) ili. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
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Plaintiff bd Government Not a Party) of Business in this State
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VF. REQUESTED IN COMPLAINT: JURY DEMAND: [-] Yes No

[]Yes No

VI. CAUSE OF ACTION (Cite the US. Civil Statute under which you are filing
Trademark Infringement (15 U.S.C. 1114) and Violation of Lanham Act (15 U.S.C, 1125). Defendant i
“First Federal Coin’, in advertising their company with the specific intent and effect of deceiving and confusing customers concern

CLASS ACTION under

and

F.R.Cv.P. 23:

(Check "Yes" only if demanded in complaint)

MONEY DEMANDED IN COMPLAINT: $ 150,000.00 +

and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
s using Plaintiff's registered federally registered trademarks, "GovMint”
ing the source of Defendant's goods.

 

 

 

   

   

 
 

 

 

 

 

 

   

 

 

 

 

 

 

   
 

 

     
 

 

 

 

 

 

 

    
 

 

 

    

 

  

    

   
 
 

 
 
     

      
    
 
 

  

 

 

 

 

 

 

    

 

 

 

 

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FOR OFFICE USE ONLY: Case Number: :

 

 

CV-77 (09/13)

CIVIL COVER SHEET

Page 1 of 3
Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 12 of 13 Page ID #:17

UNITED STAT. DISTRICT COURT, CENTRAL DISTRIC, ©
CIVIL COVER SHEET

CALIFORNIA

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

Question A: Was this case removed from
state court?

[1 Yes No

if "no, “go to Question B. If “yes,” check the
box to the right that applies, enter the
corresponding division in response to
Question D, below, and skip to Section IX.

 
   

 

{C1 Los Angeles

 
 

 

 

 

Westen
[7] Ventura, Santa Barbara, or San Luis Obispo Wester
[_] Orange Southern
[] Riverside or San Bernardino Fastem

 

 

 

[puertine B: fs the United States, or one of
its agencies or employees, a party to this
action?

(] ves [x] No

 

  

 

CA ENE TLa}Or

    

 
 

 

iF"no," go to Question C. If "yes," check the

EE] Los Angeles

 

 

box to the right that applies, enter the
corresponding division in response to
Question D, below, and skip to Section IX.

 

 

 

 

 

[-] Los Angeles Western
Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
C] Obispo C Obispo Mirco
[-] Orange L] Orange Souther
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(] Other [} Other Western

 

 

 

  

 

Indicate the Tocation in which a
maiority of plaintiffs resice:

 

 

Indicate the location in which a
majority of defendants reside:

 

Indicate the location In which a
jority of claims arose:

 

 

 

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[_] 2 or more answers in Column C

Enter "Southern" in response to

C.1. Is either of the following true? ifso, check the one that applies:

CI only 1 answer in Colurnn C and no answers in Column D

Your case will initially be assigned to the
sO DIVISION

iFnone applies, answer question C2 to the right.

Question B, below..

a

 

C2. Is either of the following true? If so, check the one that applies:

C] 2 of more answers in Column D

[_] only 1 answer in Column D and no answers in Column €

Your case will initially be assigned to the

Enter “Eastern”

If none appiies, go to the box below. 4

EASTERN DIVISION,
in response to Question D, below.

 

 

Your case will initially be assigned to the

WESTERN DIVISION.

Enter "Western" in response to Question D below.

 

 

 

 
   

 

 

Enter the initial division determined by Question A, B,orC above: smal

 

Western Division

 

 

 

CV-71 (09/13)

CIVIL COVER SHEET

Page 20f3
Case 2:13-cv-07883-MMM-AJW Document1 Filed 10/24/13 Page 13 0f13 Page ID #:18
UNITED | «TES DISTRICT COURT, CENTRALDIS = <T OF CALIFORNIA

 

CIVIL COVER SHEET
IX{a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, rernanded or closed? NO [| YES
if yes, list case number(s):
IX{b}. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO Cl VES

if yes, fist case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) [_] A. Arise from the same or closely related transactions, happenings, or events; or
CE B. Call for determination of the same or substantially related or similar questions of law and fact: or
C] C. For other reasons would entail substantial duplication of labor if heard by different judges; or

[] D. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

\
X. SIGNATURE OF ATTORNEY { y FD) 4
(OR SELF-REPRESENTED LITIGANT): (_ A Chen pat: (0/24/18

Notice to Counsel/Partles: The CV-71 (5-44) Civil Cover Sheet and the information contained herein neither — nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet}.

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCede Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Meclicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
361 HIA include claims by hospitals, skilled nursing facilities, etc,, for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
B62 BL i _ for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. G0 U.S.C.
963 pIwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus

alt claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g)}

All clairns filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as

863 BAN amended. (42 U.S.C.405 (g))

All claims for supplemental security income payments based upon disability fled under Title 16 of the Social Security Act, as
S64 $5ID amended,
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 US.C. 405 (g))

 

C¥-71 (09/13) CIVIL COVER SHEET Page 3 of 3
